Rev. 5/85) Judgment in a Civil Case q




        United States District Court
                                    EASTERN DISTRICT OF WISCONSIN

THERESA GARNER,

                                        Plaintiff,
                                                                     JUDGMENT IN A CIVIL CASE
                        v.                                               Case No. 11-C-0181

STATE OF WISCONSIN,
UNIVERSITY OF WISCONSIN-MILWAUKEE,
UNIVERSITY OF WISCONSIN SYSTEM,
UNIVERSITY OF WISCONSIN ADMINISTRATION,
JOELY B. URDAN, SHANNON BRADBURY,
BRENDA SEDMAK, ALAN CRIST,
JASON BEIER, SANDRA D. HUMES,
AMY R. WATSON, DIANE LUND,

                                        Defendants.



                        This action came before the court, the issues have been decided and a

decision has been rendered. Now, therefore,

                        IT IS ORDERED AND ADJUDGED that this case is dismissed with

prejudice.



APPROVED:                               s/ C. N. CLEVERT, JR.
                                        C. N. CLEVERT, JR.
                                        Chief U. S. District Judge
                                                                          JON W . SANFILIPPO
                                                                          Clerk

                                         5/3/11                           s/C. Fehrenbach
                                        Date                              (By) Deputy Clerk




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